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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY           )
AND ETHICS IN WASHINGTON,             )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )                 Case No. 1:25-cv-01051-EGS
                                      )
OFFICE OF MANAGEMENT AND              )
BUDGET, et al.,                       )
                                      )
                                      )
                                      )
      Defendants.                     )
______________________________________)

        DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL BRIEF

                                        INTRODUCTION

       CREW is not entitled to injunctive relief or summary judgment. 1 CREW has not

identified a sufficiently particularized injury in accordance with Article III’s standing

requirements. Moreover, CREW is not entitled to enforce unconstitutional statutory provisions

that require the Executive’s disclosure of predecisional, deliberative apportionment documents.

However, to the extent that the Court agrees with CREW, the Court should enter a final

judgment that resolves all claims and affords Defendants an opportunity to immediately appeal.

Defendants maintain that the statutory provisions at issue require the disclosure of privileged

information. Accordingly, any final order should provide Defendants a reasonable opportunity

to seek appellate resolution of the issues in this case, including a stay of any requirement that



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 Defendants re-incorporate the arguments asserted in opposition to CREW’s motion. See ECF
Nos. 18, 22.
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Defendants resume disclosure of apportionment documents pursuant to the 2022 and 2023

Continuing Appropriation Acts.

                                             ARGUMENT

    I.      CREW Is Not Entitled To Any Relief In This Case.

         CREW asks this Court to declare unlawful OMB’s decision to discontinue its operation

of an unconstitutionally-mandated apportionment database. See ECF No. 28 at 2–3. CREW

requests that the Court order Defendants to restore the apportionment database and permanently

require Defendants to continue operating the database pursuant to the 2022 and 2023 Acts. Id. at

3–4. But, as an initial matter, CREW bears the burden of establishing that it has standing to sue.

Food and Drug Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367, 378 (2024).

CREW has failed to establish a concrete and particularized injury stemming from OMB’s non-

disclosure of apportionment documents. See ECF No. 18 at 10–15. Article III does not permit

CREW’s claim based on generalized harms that are common to all members of the public and

absent a particularized injury stemming from the denial of specific, requested information. Nor

has CREW suffered the type of harm Congress sought to prevent by requiring disclosure of

apportionment documents. Disclosure was aimed at providing insights into government

spending and enabling Congress to oversee the Executive Branch’s apportionment of

appropriated funds, not to enable an organization’s mission as a watchdog. Because CREW

lacks Article III standing, it is not entitled to any relief in this case.

         In addition, CREW is not entitled to declaratory or injunctive relief because the

apportionment documents are predecisional and deliberative. Id. at 15–22. Disclosure of

apportionment documents not only forces the Executive to divulge its un-settled policy

considerations, but also reveals its deliberations with subordinate agency officials to effectuate


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desired agenda outcomes. Id. at 19–21. The Constitution prohibits such Congressional intrusion

into the Executive’s policy responsibilities. Id. at 17 (citing Nixon v. Fitzgerald, 457 U.S. 731,

750 (1982)); see also Bowsher v. Synar, 478 U.S. 714, 722 (1986) (“The Constitution does not

contemplate an active role for Congress in the supervision of officers charged with the execution

of the laws it enacts.”)). CREW is not entitled to enforce a statute that unconstitutionally calls

for the mandatory and automatic disclosure of privileged information.

   II.      CREW Cannot Satisfy The Permanent Injunction Standard.

         Plaintiffs seeking a mandatory injunction “face a significantly heightened burden” of

showing an entitlement to relief. Feng Wang v. Pompeo, 354 F. Supp. 3d 13, 20 (D.D.C. 2018).

To obtain a permanent injunction, the plaintiff must show “(1) that it has suffered an irreparable

injury; (2) that remedies available at law, such as monetary damages, are inadequate to

compensate for that injury; (3) that, considering the balance of hardships between the plaintiff

and defendant, a remedy in equity is warranted; and (4) that the public interest would not be

disserved by a permanent injunction.” Monsanto et al. v. Green Seed Farms et al., 561 U.S. 139,

157–58 (2010) (quoting eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388 (2006)). “[T]he

balance of equities and consideration of the public interest—are pertinent in assessing the

propriety of any injunctive relief, preliminary or permanent.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 32 (2008). CREW cannot satisfy this standard.

         CREW’s generalized claims regarding the public’s interest in Defendants’ restoration of

the apportionment database do not support a finding of harm to CREW and cannot form the basis

for irreparable harm. See ECF No. 18 at 23–24. Moreover, CREW has not demonstrated that

access to apportionment documents—which Defendants maintain are privileged—is

indispensable to its core mission and that impaired access prevents it from fulfilling its



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organizational goals. Id. at 24–25. CREW’s failure to identify irreparable injury, distinct from

the alleged generalized harm to the public, is dispositive.

          The third and fourth factors of the analysis—harm to others and the public interest—

“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

This balance squarely tips in Defendants’ favor because any injunctive relief in this case would

require unconstitutional infringement upon Executive power. See NAACP v. U.S. Department of

Educ., No. 25-CV-1120 (DLF), 2025 WL 1196212, at *7 (D.D.C. Apr. 24, 2025)

(“[E]nforcement of an unconstitutional law is always contrary to the public interest.” (citation

omitted)). An order requiring Defendants to re-instate the apportionment database and disclose

predecisional and deliberative information would significantly and improperly impede Executive

power by interfering with the President’s constitutional authority over the implementation of

appropriations and his discretion in executing the laws. The equities tip in Defendants’ favor and

a permanent injunction is, therefore, inappropriate.

   III.      To The Extent The Court Grants CREW’s Motion, Any Relief Should Afford
             Defendants The Right To Immediate Appeal.

          CREW’s submission crystalizes its requests for relief for the first time. CREW seeks an

order requiring OMB to (1) retroactively publish all apportionment documents pursuant to the

2022 and 2023 Acts, and (2) permanently resume public disclosure of apportionment documents.

ECF No. 28 at 2–3. CREW contends that an order to this effect would resolve all claims in this

case, including those claims not part of its motion. Id. at 3.

          Resolution of CREW’s request turns on whether Defendants’ decision to discontinue the

apportionment database should be set aside under the APA. Defendants argue that the 2022 and

2023 Acts unconstitutionally infringe upon Executive power, and that CREW is not entitled to

enforce those unconstitutional statutory provisions. CREW’s motion should, therefore, be

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denied. To the extent the Court is inclined to grant CREW’s requested relief, however, vacatur

of Defendants’ actions is not available under the APA. See United States v. Texas, 599 U.S. 670,

692-93 (2023) (Gorsuch, J. concurring). The only avenue available under the APA would be an

order setting aside Defendants’ decision (which the Court should not do). Because CREW has

conceded that such an order would resolve all its claims, any order entered by the Court should

moot the remaining arbitrary and capricious claim (Count I). See ECF No. 28 at 5. In addition,

such an order should be final and immediately appealable.

       If the Court is inclined to rule in CREW’s favor, despite Defendants’ arguments that such

a ruling would impair Executive power and cause significant harm to the public, a final order

should be accompanied by a stay. In considering a stay pending appeal, the Court must examine

“(1) whether the stay applicant has made a strong showing that [it] is likely to succeed on the

merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4) where

the public interest lies.” Nken, 556 U.S. at 426. Each of the factors strongly counsels in favor of

a prompt stay in this case.

       As discussed in the briefing and emphasized above, Defendants have made a strong

showing that they are likely to succeed on the arguments that CREW lacks standing and that the

2022 and 2023 Act are unconstitutional because they require the disclosure of privileged

apportionment documents. Absent a stay, Defendants face significant harm: Defendants would

be forced to disclose deliberative information pursuant to unconstitutional statutory provisions

that constitute Congressional intrusion into Executive functions. The harm from an adverse

ruling would be exacerbated pending any appeal to the D.C. Circuit and the Supreme Court,

particularly if the appellate court agrees with Defendants that the 2022 and 2023 Acts are



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unconstitutional. Accordingly, any final order in CREW’s favor should ensure that Defendants

are not required to divulge privileged information pending appellate resolution of an important

constitutional issue. At a minimum, any relief in CREW’s favor should be stayed for a period of

fourteen days to allow the Solicitor General to determine whether to appeal and seek a stay

pending appeal.

                                         CONCLUSION

       For all the reasons stated above and in Defendants’ substantive briefing, the Court should

deny CREW’s motion for a permanent injunction. If the Court disagrees, it should ensure that

any ruling is a final and appealable order, and that such order is stayed pending an opportunity to

seek appeal.


Dated: June 16, 2025
                                             Respectfully submitted,

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